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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                                 BILLINGS DIVISION


 UNITED STATES OF AMERICA,                         CR 23-98-BLG-SPW


                         Plaintiff,
                                                ORDER SETTING
           vs.                                  SENTENCING

 SHELDON PATRICK TRACY,

                         Defendant.


      Defendant entered his plea of guilty before U.S. Magistrate Judge Timothy

J. Cavan in open court on February 13, 2024. United States Magistrate Judge

Timothy J. Cavan entered Findings and Recommendation in this matter on

February 14, 2024(Doc. 34). No objections having been filed within fourteen

days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations(Doc. 34)are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      1.         Sentencing is set for Thursday,June 13,2024 at 1:30 p.m., in the

James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
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